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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHGAN
SOUTHERN DIVISION

JASON CANTRELL,

Plaintiff,
Case No. 1:18-cv-1163

Vv.

HON. JANE M. BECKERING

ANTHONY HEILIG and
SCOTT ARP,

Defendants.

JURY VERDICT

1. Do you find that Plaintiff proved, by a preponderance of the evidence, that either
Defendant violated his Eighth Amendment right to be free from excessive force?

Heilig: No af OR Yes

Arp: No 4 OR Yes
If you answered “No” as to both Defendants, you have reached a verdict.
Have your foreperson sign the verdict form and send a message that the

jury has reached its verdict. If you answered “Yes” as to any Defendant,
complete questions 2 and 3 to determine a damages award as to the

applicable Defendant(s), only.

2. We find that Plaintiff proved his claim, by a preponderance of the evidence, and
we award damages in the following amounts as to each applicable Defendant(s):

Heilig: Compensatory OR nominal damages: $

Arp: Compensatory OR nominal damages: $

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3. Do you find that punitive damages should be assessed against any applicable
Defendant(s)?

Heilig: No OR Yes If Yes, in what amount? $

Arp: No OR Yes If Yes, in what amount? $

Foreperson: Gobet baea~g Date: % [ Zt [ Oe

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